                            IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

SABRINA CORLEY,                                        )
                                                       )
                  Plaintiff,                           )
                                                       )
VS.                                                    )        Case No.: 3:12-cv-1250
                                                       )        JURY DEMAND
WAL-MART STORES EAST, INC.,                            )        JUDGE SHARP
d/b/a WAL-MART, WAL-MART                               )        MAGISTRATE JUDGE KNOWLES
ASSOCIATES, INC., and                                  )
WAL-MART STORES, INC.,1                                )
                                                       )
                  Defendants.                          )

                     RULE 26(A) INITIAL DISCLOSURE OF DEFENDANTS

1.       Fed. R. Civ. P. 26(a)(1)(A):

         The following individuals are likely to have discoverable information that these

defendants may use to support their claims or defenses unless solely for impeachment:

         Katrina Smith
         2421 Powell Ave
         Nashville, TN 37204
         (615) 383-3844

         Katrina Smith was the assistant manager on duty that day. She was the first person to

speak with plaintiff after the incident. She is now employed by a different Wal-Mart store.

         Thomas Thompson
         3035 Hamilton Church Road
         Antioch, TN 37013
         615-360-2228




1
 Wal-Mart Stores East, LP, is the entity that operated the store on the date of this accident. It was incorrectly sued
as Wal-Mart Stores East, Inc., d/b/a Wal-Mart, Wal-Mart Associates, Inc., and Wal-Mart Stores, Inc. Defendants
may be referred to as “Wal-Mart” in this document.



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       Thomas Thompson is a grocery associate who was working that day. You can see him in

the video looking down the aisle where the plaintiff allegedly slipped at 3:38pm, approximately

2 minutes before the incident occurred.

       Greg Tunstill
       3035 Hamilton Church Road
       Antioch, TN 37013
       615-360-2228

       Greg Tunstill is the store manager.

       Brian Hicks
       4424 Lebanon Pike
       Hermitage, TN 37076
       (615) 883-0201

       Brian Hicks is the asset protection manager. He preserved the store surveillance video.

He is now employed by a different Wal-Mart store.

       Plaintiffs and the people identified in plaintiffs’ disclosures and discovery responses may

also have such information.

2.     Fed. R. Civ. P. 26(a)(1)(B)

       All documents, data compilations, and tangible things in defendants’ possession, custody,

or control that the defendants may use to support its claims or defenses, unless solely for

impeachment, are as follows:

       (1) Wal-Mart’s incident report

       (2) Customer statement

       (3) Katrina Smith’s witness statement

       (4) Wal-Mart surveillance video of the incident

       (5) Screen shots of Wal-Mart surveillance video of the incident

       (6) Narrative of store surveillance video



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       (7) Recorded interview with plaintiff on 11/30/11

3.     Fed. R. Civ. P. 26(a)(1)(C):

       These defendants are not claiming damages.

4.     Fed. R. Civ. P. 26(a)(1)(D):

       To the extent applicable, any insurance agreement covered by this rule will be made

available to plaintiffs’ counsel at a mutually agreeable date, time, and location.

       These defendants reserve the right to timely supplement these initial disclosures as

necessary.


                                                      _s/ G. Andrew Rowlett___________
                                                      G. Andrew Rowlett, No. 16277
                                                      Meredith Hiester, No. 30183
                                                      HOWELL & FISHER, PLLC
                                                      Court Square Building
                                                      300 James Robertson Parkway
                                                      Nashville, TN 37201-1107
                                                      (615) 244-3370
                                                      Attorneys for Defendants


                                 CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was served by the electronic filing system upon:

Rocky McElhaney
Rocky McElhaney Law Firm, PC
1311 Sixth Avenue North
Nashville, TN 37208
Attorney for plaintiff

       on this the _10th_ day of December, 2012.




                                                      __s/ _G. Andrew Rowlett_______________




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